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 1   Steven L. Crawford #166488
     LAW OFFICE OF STEVEN L. CRAWFORD
 2   192 North 11th Street
 3   Grover Beach, CA 93433
     Tel:805-458-6312
 4   Fax:805-489-2001
     slcrawfordlaw@gmail.com
 5   stevecrawfordlaw.com
 6
     Attorney for Defendant CESAR ADOLFO QUINONEZ-RODRIQUEZ
 7
 8
                          UNITED STATES DISTRICT COURT
 9
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                      )     Case No. 1:10CR00419 LJO
12
13                                   )
                    Petitioner,      )                     STIPULATION TO CONTINUE
14                                   )                     SENTENCING HEARING
15        vs.                        )
                                     )
16
     CESAR ADOLFO QUINONEZ-          )                    Original Date:         May 21, 1012
17   RODRIQUEZ,                      )                    Requested Date:        June 11, 2012
                                     )
18
                    Defendant.       )
19   _______________________________ )
20
21   IT IS HEREBY STIPULATED by and between the parties that the sentencing in the

22   above entitled case be continued from the original date of May 21, 2012 at 8:30 am
23
     to a new date of June 11, 2012 at 8:30 am. The basis for this stipulation is there is an
24
25   extraordinary amount of objections and responses to those objections that require a
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     search of the discovery, including several dozens of tape recorded phone calls in
27
28
                                Stipulation to continue sentencing hearing
                          United States of America v. Cesar Rodriquez-Quinonez
                                                  Page 1
                            Case 1:10-cr-00419-DAD Document 153 Filed 05/16/12 Page 2 of 2


 1   order to properly prepare this matter for the sentencing of this defendant and to
 2
     ensure that the sentence options are explored and prepared for the court.
 3
 4   DATED: May 16, 2012
 5
                                                                         /s/
 6                                                               KATHLEEN A. SERVATIUS
                                                                 AUSA
 7
 8
 9                                                                            /s/
                                                                 STEVEN L. CRAWFORD
10                                                               Attorney for CESAR ADOLFO
11                                                               RODRIQUEZ-QUINONEZ
12
13
14   IT IS SO ORDERED.
15
                           Dated:   May 16, 2012                              /s/ Lawrence J. O’Neill
16                                                                       UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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                                                Stipulation to continue sentencing hearing
                                          United States of America v. Cesar Rodriquez-Quinonez
                                                                  Page 2
